     Case 23-42742-mxm13                             Doc 2        Filed 09/12/23 Entered 09/12/23 14:37:31                                        Desc Ch 13
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Information to identify the case:

                       Clifford Roy Cooley Jr.                                                 Social Security number or ITIN:      xxx−xx−3869
Debtor 1:
                                                                                               EIN: _ _−_ _ _ _ _ _ _
                       First Name    Middle Name     Last Name

Debtor 2:                                                                                      Social Security number or ITIN: _ _ _ _
(Spouse, if filing)    First Name    Middle Name     Last Name                                 EIN: _ _−_ _ _ _ _ _ _

United States Bankruptcy Court:     Northern District of Texas                                     Date case filed for chapter:            13     9/12/23

Case number:          23−42742−mxm13

Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                          10/20


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                                   About Debtor 1:                                                        About Debtor 2:
1. Debtor's full name                              Clifford Roy Cooley Jr.

2. All other names used in the
   last 8 years
                                                   1545 Roma Ln.
3. Address                                         Fort Worth, TX 76134
                                                   Richard D. Kinkade                                                    Contact phone 972−256−4444
                                                   Law Office of Richard D. Kinkade
4. Debtor's attorney
     Name and address
                                                   2121 W. Airport Frwy.                                                 Email: richard_kinkade@hotmail.com
                                                   Suite 400
                                                   Irving, TX 75062

5. Bankruptcy trustee                              Pam Bassel                                                             Contact phone 817−916−4710
     Name and address                              Office of The Standing Ch.13 Trustee
                                                   860 Airport Freeway                                                    Email: fwch13cmecf@fwch13.com
                                                   Suite 150
                                                   Hurst, TX 76054

6. Bankruptcy clerk's office                                                                                              Hours open:
     Documents in this case may be filed                                                                                  Mon.−Fri. 8:30−4:30
     at this address.                              501 W. Tenth Street
     You may inspect all records filed in          Fort Worth, TX 76102                                                   Contact phone 817−333−6000
     this case at this office or online at
      https://pacer.uscourts.gov.
                                                                                                                          Date: 9/12/23
                                                                                                                                  For more information, see page 2




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Debtor Clifford Roy Cooley Jr.                                                                                                   Case number 23−42742−mxm13

7. Meeting of creditors                                                                                            WILL BE HELD BY VIDEO CONFERENCE
   Debtors must attend the meeting to     October 24, 2023 at 09:30 AM                                             FOR THE DALLAS AND FORT WORTH
   be questioned under oath. In a joint                                                                            DIVISIONS, THE EXACT TIME FOR THIS
   case, both spouses must attend.                                                                                 MEETING WILL BE ASSIGNED BY THE
   Creditors may attend, but are not      The meeting may be continued or adjourned to a later date. If            TRUSTEE (SEE BELOW)
   required to do so.                     so, the date will be on the court docket.

                                          For the Dallas and Fort Worth divisions:

                                          The specific time for this meeting will be assigned by the trustee and will be sent to the attorney for the debtor, or, if
                                          the debtor is pro se, will be sent to the debtor no later than the day before the 341 meeting. It will also be sent to
                                          any other participant who notifies the trustee that he/she/it wishes to attend the meeting at least three (3) business
                                          days prior to the date set for the meeting. See page 3 of this notice for more information.
8. Deadlines                               Deadline to file a complaint to challenge                                 Filing deadline: ____________
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following    You must file:
   deadlines.                              • a motion if you assert that the debtors are not entitled to receive a discharge
                                             under U.S.C. § 1328(f), or

                                           • a complaint if you want to have a particular debt excepted from discharge
                                             under 11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                       Filing deadline: 11/21/23
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                        Filing deadline: 3/10/24
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file a
                                           proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                           example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                           right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:     30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                             conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                              meeting of creditors
                                           may file an objection.

9. Filing of plan                         The debtor has not filed a plan as of this date. A copy of the plan and a notice of the hearing on confirmation will
                                          be sent separately.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                           to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                           You may inspect that list at the bankruptcy clerk's office or online at https://pacer.uscourts.gov. If you believe
                                           that the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                           you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                           exemptions in line 8.




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RE: DALLAS AND FORT WORTH DIVISIONS (Trustees Powers, Truman, and Bassel)

Debtors − You will receive an additional letter from your Trustee explaining your First Meeting of Creditors. If you
are represented by counsel, please contact your attorney if you have further questions after receiving the letter. If you
are representing yourself, please do not contact the Trustee with questions about your First Meeting until after you
have received your additional letter.

Creditors and other participants − The video−conference First Meeting of Creditors will be held using Zoom. Please
go to zoom.us for more information on this application. You will need a smart device (a phone, tablet, laptop, or
computer with a microphone and camera) and you must be ready to enter the meeting at the time assigned by the
Chapter 13 Trustee. YOU MUST NOTIFY THE TRUSTEE'S OFFICE THAT YOU WANT TO ATTEND THE
MEETING AT LEAST THREE (3) BUSINESS DAYS PRIOR TO THE MEETING IN ORDER TO RECEIVE A
ZOOM INVITATION TO THE MEETING. THE ZOOM INVITATION WILL BE SENT NO LATER THAN THE
DAY BEFORE THE MEETING. Please send your request to:

For the Powers office − Newcase@dallasch13.com

For the Truman office − Truman341docs@ch13ftw.com

For the Bassel office − bassel341docs@fwch13.com

You must put the Debtor's last name and case number in the subject line of your email (emails without this
information will not be opened) and include the email address where you would like to receive the meeting invite.
EACH MEETING WILL BE ASSIGNED A SPECIFIC TIME SLOT, MEETING ID, AND PASSWORD. If you fail
to timely join the meeting, it will commence without your participation. Please call the Trustee's office if you have
additional questions.

ANY PARTIES, INCLUDING DEBTORS, THAT CANNOT PARTICIPATE IN THE MEETING DUE
TO TECHNOLOGICAL ISSUES MUST CONTACT THE TRUSTEE AT LEAST TWENTY−FOUR HOURS
PRIOR TO THE MEETING TO MAKE ALTERNATE ARRANGEMENTS.

FOR MORE INFORMATION ON VIDEO CONFERENCING, PLEASE VISIT THE TRUSTEES'
WEBSITES AT WWW.13NETWORK.COM.




RE: LUBBOCK, ABILENE, AMARILLO, SAN ANGELO AND WICHITA FALLS DIVISIONS (Trustee Davis)

The First Meeting of Creditors will be held by video conference. Debtors and their attorneys must attend by both
video and audio using the connection information below. Creditors may attend by video or audio using the same
connection information below. The date and time for the meeting will be contained in the Notice of Chapter 13
Bankruptcy which may be mailed separately from this document. The connection information is as follows:

Join the meeting from your computer, tablet or smartphone using this link:
https://meet.goto.com/685697997
You can also dial in using your phone using this number: United States: +1 (646) 749−3122
The access Code for video or audio is: 685−697−997

ANY PARTIES THAT CANNOT PARTICIPATE DUE TO TECHNOLOCIGAL ISSUES MUST CONTACT
THE TRUSTEE AT LEAST 5 DAYS PRIOR TO THE MEETING TO MAKE ALTERNATE
ARRANGEMENTS. IF YOU WOULD LIKE TO TEST THE CONNECTION PRIOR TO THE MEETING,
PLEASE CONTACT THE TRUSTEE'S OFFICE 5 DAYS PRIOR TO THE MEETING AND ASK TO TEST
GOTOMEETING CONNECTION. THE NUMBER TO THE LUBBOCK TRUSTEE'S OFFICE IS (806)
748−1980.
